     Case 17-40178     Doc 36    Filed 04/26/18 Entered 04/27/18 09:06:57           Desc Main
                                   Document     Page 1 of 2



SO ORDERED.

SIGNED this 26 day of April, 2018.




                                                   John T. Laney, III
                                          United States Bankruptcy Judge


                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF GEORGIA
                                 COLUMBUS DIVISION


In Re:                                       )
                                             )       Chapter 13
RICHARD WAYNE BRYAN,                         )
                                             )       Case No.: 17-40178-JTL
       Debtor                                )
                                             )
FEDERAL NATIONAL MORTGAGE                    )
ASSOCIATION (“FANNIE MAE”), BY               )
SERTUS, INC. AS THE AUTHORIZED               )
SERVICER,                                    )
         Movant                              )
                                             )
v.                                           )
                                             )
RICHARD WAYNE BRYAN, Debtor                  )
Kristin Hurst, Trustee                       )
                                             )
         Respondents                         )

                       ORDER ON MOTION FOR RELIEF FROM STAY

SUBJECT PROPERTY: 5708 Ventura Drive, Columbus, Georgia 31909

                The above matter is before the Court pursuant to the creditor’s Motion for
Relief from the Automatic Stay. Debtor filed a Plan Modification to place under his Chapter 13 Plan
post-Petition arrears accruing through March 31, 2018 and to resume regular post-Petition mortgage
payments to Movant, beginning with the April 2018 post-Petition mortgage payment. As of March
31, 2018, Debtor was delinquent post-Petition for the November, 2017 and subsequent post-Petition
  Case 17-40178        Doc 36     Filed 04/26/18 Entered 04/27/18 09:06:57               Desc Main
                                    Document     Page 2 of 2


mortgage payments in the amount of $680.34 each. Movant was holding in suspense $281.53. The
net post-Petition arrears through March 31, 2018 total $3,120.17. Creditor filed a timely objection to
Debtor’s Motion to modify his Plan, which objection Creditor will be withdrawing. Debtor having
made an offer of adequate protection which the Court finds to be reasonable under the circumstances,
it is

               ORDERED that the Creditor’s Motion for Relief from the Automatic Stay is
conditionally denied.

                 FURTHER ORDERED that Debtor shall hereafter strictly comply with Debtor’s post-
Petition payment obligations to Movant. If Debtor defaults in any of the payments to Movant, its
successors and assigns, either as to arrearages or future mortgage payments, Movant or Movant’s
counsel may file its affidavit of default and shall serve a copy of same on the Debtor, Debtor’s
counsel and the Chapter 13 Trustee. If Debtor fails to cure such default within fifteen (15) days from
the filing of the affidavit of default, then the Court may enter an order vacating the automatic stay as
to Movant, its successors and assigns, without the necessity of any further notice or hearing.

                FURTHER ORDERED upon default under this Order, Movant may also seek a
finding that upon entry of an order granting relief from the automatic stay that its claim is no
longer treated pursuant to § 1322(b)(5) such that Fed. R. Bankr. P. 3002.1 shall no longer apply.

                 FURTHER ORDERED that Movant's attorneys are hereby awarded the sum of
$681.00 for attorney's fees and expenses in prosecuting this motion, the same to be paid as part of
Creditor’s secured claim through the Debtor’s Chapter 13 Plan. The Trustee is authorized to disburse
the attorney’s fees and expenses directly to Movant. The Chapter 13 Trustee shall pay the fees and
costs pursuant to this Order, and it shall not be necessary for Movant to file an amended proof of
claim for the fees and costs.

                                      END OF DOCUMENT

ORDER PREPARED AND
SUBMITTED BY:
/s/ Ernest Kirk, II
Ernest Kirk, II
State Bar No. 423500
Denney, Pease, Kirk & Morgan
P. O. Box 2648
Columbus, Georgia 31902-2648
(706) 324-3711
EKirk@dpaklaw.com
